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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


   JENNIFER GOODE and KANDI FREY,                        )
   individually, and on behalf of all others             )
   similarly situated,                                   )
                                                         )
                  Plaintiffs,                            )    Case No. 17-CV-00472-GKF-JFJ
                                                         )
   v.                                                    )
                                                         )
   NUANCE COMMUNICATIONS, INC.,                          )
   and NUANCE TRANSCRIPTION                              )
   SERVICES, INC.,                                       )
                                                         )
                  Defendants.                            )

                                                ORDER

          This matter comes before the court on the Motion to Decertify Collective Action [Doc.

   125] of defendants Nuance Communications, Inc. and Nuance Transcription Services, Inc. For

   the reasons set forth below, the motion is granted.

   I.     Background and Procedural History

          Plaintiffs and members of the putative collective are current and/or former non-exempt

   medical transcriptionists, or medical language specialists (“MLS employees”), employed by

   Nuance Transcription Services, Inc., a wholly owned subsidiary of Nuance Communications, Inc.

   Plaintiffs filed this lawsuit alleging that defendants violated the Fair Labor Standards Acts, 29

   U.S.C. §§ 203 et seq., by failing to pay MLS employees for rest periods, resulting in an improper

   reduction of overtime pay for MLS employees who worked over forty hours in a workweek and

   remained clocked in for rest periods, and failing to pay overtime wages to MLS employees who

   clocked out for rest periods but worked forty hours in a workweek, including rest periods.
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   Additionally, plaintiffs assert FLSA violations for defendants’ failure to timely pay promised

   incentives to MLS employees and to include the incentives when determining overtime pay.

           In an Opinion and Order, dated July 23, 2018, the court conditionally certified as a

   collective action pursuant to 29 U.S.C. § 216(b), a class of plaintiffs limited to the following:

           Current and former MLS employees of Defendants who worked at any time during
           the period beginning July 23, 2015, and ending July 23, 2018:

           1.     Who were not compensated for rest periods and worked more than 40 hours
                  in a workweek when the rest periods are included;

                          AND/OR

           2.     Who worked more than 40 hours in a workweek, inclusive of rest periods,
                  and earned incentives during such workweeks that were not calculated into
                  the overtime rate and/or were not paid on the regularly scheduled payroll
                  date after the incentives were earned.

   [Doc. 54]. The court approved the FLSA Conditional Certification Notice on August 7, 2018,

   which provided for an opt-in period of August 23, 2018 to October 22, 2018. [Doc. 57]. Over 800

   persons joined as opt-in plaintiffs during the period. 1

          Defendants now move for decertification of the FLSA collective. [Doc. 125]. Plaintiffs

   responded [Doc. 142], and defendants timely filed a reply on December 20, 2019. [Doc. 146].

   The court held a hearing on the motion on January 13, 2020, and the motion is now ripe for the

   court’s review. 2




   1
     Two opt-in plaintiffs, Lorraine Long and Elaina Rand, elected to join prior to issuance of the
   Notice. [Doc. 24]. Further, although joined during the opt-in period, Magistrate Judge Jodi F.
   Jayne recommended that eleven (11) opt-in plaintiffs be dismissed with prejudice from the FLSA
   collective action for failure to participate in discovery. [Doc. 139]. The court adopted Magistrate
   Judge Jayne’s Report and Recommendation and dismissed with prejudice those 11 opt-in plaintiffs
   from the FLSA collective action. [Doc. 145].
   2
    A more complete procedural history of this matter can be found in Magistrate Judge Jayne’s
   November 27, 2019 Report and Recommendation [Doc. 139], and this court’s Opinion and Order,
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   II.    Standard of Review

          Section 216(b) of the Fair Labor Standards Act permits collective actions brought for and

   in behalf of similarly situated employees:

          An action to recover the liability prescribed in the preceding sentences may be
          maintained against any employer (including a public agency) in any Federal or
          State court of competent jurisdiction by any one or more employees for and in
          behalf of himself or themselves and other employees similarly situated. No
          employee shall be a party plaintiff to any such action unless he gives his consent in
          writing to become such a party and such consent is filed in the court in which such
          action is brought.

   29 U.S.C. § 216(b). The FLSA does not define “similarly situated.” However, the Tenth Circuit

   previously endorsed the two-step ad hoc method of determination. See Thiessen v. Gen. Elec.

   Capital Corp., 267 F.3d 1095, 1105 (10th Cir. 2001); Chapman v. BOK Fin. Corp., No. 12-CV-

   613-GKF-PJC, 2013 WL 12032545, at *2 (N.D. Okla. Apr. 30, 2013).

          Pursuant to the ad hoc approach, a court first “makes an initial ‘notice stage’ determination

   of whether plaintiffs are ‘similarly situated[.]’” Thiessen, 267 F.3d at 1102. During this first stage,

   a finding of “similarly situated,” “require[s] nothing more than substantial allegations that the

   putative class members were together the victims of a single decision, policy, or plan.” Id. (quoting

   Vaszlavik v. Storage Tech. Corp., 175 F.R.D. 672, 678 (D. Colo. 1997)). Generally, district courts

   in this Circuit have limited the scope of their review at the notice stage of certification to the

   allegations in plaintiffs’ complaint and supporting affidavits. Shockey v. Huhtamaki, Inc., 730 F.

   Supp. 2d 1298, 1303 (D. Kan. 2010); Smith v. Pizza Hut, Inc., No. 09-CV-01632-CMA-BNB,

   2012 WL 1414325, at *3 (D. Colo. Apr. 21, 2012).




   dated February 5, 2020, denying plaintiffs’ Application to Amend the Second Amended Complaint
   and granting defendants’ Motion to Strike Expert Report of Leah Wietholter. [Doc. 159].
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          The court then moves to the second stage. During this second stage, “[a]t the conclusion

   of discovery (often prompted by a motion to decertify), the court then makes a second

   determination, utilizing a stricter standard of ‘similarly situated.’” Thiessen, 267 F.3d at 1102-03.

   Pursuant to this stricter analysis, “a court reviews several factors, including ‘(1) disparate factual

   and employment settings of the individual plaintiffs; (2) the various defenses available to

   defendant which appear to be individual to each plaintiff; [and] (3) fairness and procedural

   considerations.’” 3 Id. at 1103. In the context of FLSA collectives, courts generally conclude “at

   th[e] second stage, the burden is on the Plaintiff to prove that the individual class members are

   similarly situated.” 4 Proctor v. Allsups Convenience Stores, Inc., 250 F.R.D. 278, 280 (N.D. Tex.

   2008) (citing Bayles v. Am. Med. Response of Colo., Inc., 950 F. Supp. 1053, 1062-63 (D. Colo.

   1996); Ellis v. Elgin Riverboat Resort, 217 F.R.D. 415, 419 (N.D. Ill. 2003)); see also Frye v.

   Baptist Mem’l Hosp., Inc., 495 F. App’x 669, 671 (6th Cir. 2012); Kaiser v. At the Beach, Inc.,

   No. 08-CV-586-TCK-FHM, 2010 WL 5114729, at *4 (N.D. Okla. Dec. 9, 2010). The decision of

   whether to decertify a collective action is generally within the district court’s trial management

   discretion. Thiessen, 267 F.3d at 1105; see also In re Chipotle Mexican Grill, LLC, No. 17-1028,

   2017 WL 4054144, at *2 (10th Cir. Mar. 27, 2017).



   3
     Thiessen includes a fourth factor related to required filings under the ADEA that is not applicable
   to FLSA cases. See Kaiser v. At the Beach, Inc., No. 08-CV-586-TCK-FHM, 2010 WL 5114729,
   at *4 n.9 (N.D. Okla. Dec. 9, 2010).
   4
     The parties disagree as to the party that bears the burden with respect to the “similarly situated”
   inquiry. Defendants contend that plaintiffs bear the burden to demonstrate that the named plaintiffs
   and opt-in plaintiffs are “similarly situated” so as justify continued certification. Plaintiffs,
   however, assert that, although they bear the burden to “come forward with the evidence” that
   individual class members are similarly situated, because defendants filed the motion to decertify,
   defendants bear the burden of persuasion. [Doc. 142, pp. 25-26]. Plaintiffs rely on Schaffer ex
   rel. Schaffer v. Weast, 546 U.S. 49 (2005). However, in Schaffer, the Court considered the burden
   of proof with respect to an IDEA statutory cause of action. Therefore, Schaffer is distinguishable.
   The court looks to cases considering the burden in the context of FLSA collective actions.
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   III.   Decertification Analysis

          As previously stated, the court conditionally certified an FLSA collective inclusive of two

   separate factual theories. First, MLS employees who claim defendants improperly reduced their

   overtime pay by requiring defendants to remain clocked in during rest periods, or who did not

   include rest periods in the overtime calculation if the MLS employees clocked out. 5 Second, MLS

   employees who claim defendants failed to timely pay promised incentives to them and to include

   the incentives to determine overtime pay.

          The issue before the court is whether the named plaintiffs and opt-in plaintiffs are

   “similarly situated” within the meaning of 29 U.S.C. § 216(b), such that it would be appropriate

   to proceed to trial on all of the claims together. To make the “similarly situated” determination,

   the court examines the factors discussed in Thiessen.

          A.      Disparate Factual and Employment Settings of the Individual Plaintiffs

          With respect to this first factor, at the second stage, “[w]hile the plaintiffs must show that

   they are ‘similarly situated,’ this does not mean they must establish they are ‘identically situated.’”

   Proctor, 250 F.R.D. at 280 (citing Basco v. Wal-Mart Stores, Inc., No. CIV-A-00-3184, 2004 WL

   1497709, at *5 (E.D. La. July 2, 2004)). The relevant inquiry is “if there is ‘a demonstrated

   similarity among the individual situations . . . some factual nexus which binds the named plaintiffs




   5
     In the response to the motion to decertify, plaintiffs state: “Named Plaintiffs’ and the Opt-Ins’
   (together ‘Plaintiffs’) claims center around Nuance’s policies requiring that they perform certain
   nonproductive tasks (administrative tasks and rest breaks), without pay, while clocked-in to
   Nuance’s timekeeping system as performing production tasks (transcribing). These policies dilute
   Plaintiffs’ production compensation, and thereby reduced their regular rate for calculating
   overtime.” [Doc. 142, p. 7]. However, the Second Amended Complaint, the operative pleading
   in this case, includes no allegations relative to administrative tasks or nonproductive time
   generally. See [Doc. 29]. For the reasons discussed in its February 5, 2020 Opinion and Order,
   the court denied plaintiffs’ motion for leave to amend. [Doc. 159]. Thus, administrative time is
   not at issue in this litigation.
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   and the potential class members together as victims of a particular alleged [policy or practice].’”

   Id. (quoting Heagney v. European Am. Bank, 122 F.R.D. 125, 127 (E.D.N.Y. 1988)). “The need

   for individual factual determinations is not fatal to certification of a FLSA collective action.”

   Chapman, 2014 WL 3734271, at *2. However, “the more material distinctions revealed by the

   evidence, the more likely the district court is to decertify the collective action.” Proctor, 250

   F.R.D. at 281 (quoting Anderson v. Cagle’s, Inc., 488 F.3d 945, 953 (11th Cir. 2007)).

          Defendants argue that distinct questions of proof necessary to liability—specifically

   dissimilarities in the way that policies affected the plaintiffs—require decertification. In response,

   plaintiffs argue that defendants’ common policies are sufficient to establish that plaintiffs are

   “similarly situated” for purposes of § 216(b). The court first considers this factor with respect to

   the rest period theory, and then the incentive pay theory.

                  1.      Rest Periods

          Plaintiffs present evidence of the existence of a common policy with respect to rest periods.

   Effective September 26, 2015, the Update to Nuance Transcription Services Employee Handbook

   (“Handbook Update”) required MLS employees who worked more than 3.5 hours in a day to take

   one 15-minute rest period (break) per four (4) hours worked. [Doc. 125-1, p. 2; Doc. 144-16, p.

   2]. The policy required pay for the rest periods and that the compensation for rest periods be

   included in the calculation of overtime pay. [Id.]. Although the Handbook Update does not

   explicitly require MLS employees to remain clocked into the WebClock “Production Code” 6

   during their rest periods, in the motion to decertify, defendants concede that most MLS employees




   6
      During the relevant period, MLS employees tracked their time using a program called
   “WebClock.” On a typical day, MLS employees “punch” into WebClock using the task code “MT
   Production Hours – Regular.” When ready to start transcribing, the MLS employees then log into
   a separate transcription platform to begin production. [Doc. 144-27].
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   were required to remain clocked in. [Doc. 125, p. 10]. The Handbook Policy provided an

   exception for California MLS employees, who were required to provide Nuance notice of their

   intent to take rest periods by clocking out of WebClock task “Production” and clocking into the

   WebClock task “Rest Break.” 7 [Doc. 144-16, p. 2]. Further, in December of 2014, Nuance

   implemented the “Patient Safety Compensation Plan” to determine the compensation owed to its

   MLS employees. [Doc. 143-19]. All MLS employees were paid pursuant to the Patient Safety

   Compensation Plan.

          In light of the asserted common policy, plaintiffs urge the court to rely on Kaiser v. At the

   Beach, Inc., a decision by another court in this district. 2010 WL 5114729 (N.D. Okla. Dec. 9,

   2010). In Kaiser, U.S. District Judge Terence Kern certified a collective action of twenty-six (26)

   individuals who were former or current At the Beach managers and did not receive overtime pay

   because they were misclassified as exempt from FLSA’s overtime requirements. Id. at *5. In so

   doing, the court noted that there were no significant factual disparities in the original plaintiffs—

   despite the fact that some plaintiffs clocked in and clocked out while others did not—because the

   alleged wrong was the decision to classify plaintiffs as exempt. Id. at *6.

          Here, it is clear that, unlike in Kaiser, material differences exist between the factual

   circumstances surrounding each plaintiffs’ treatment under defendants’ policy that weigh against

   collective treatment. During class certification discovery, defendants deposed the two named

   plaintiffs—Goode and Frey—and eight (8) opt-in plaintiffs: Brenda Barker, Nikki Cormier, Susan



   7
     Plaintiffs submit some evidence in the form of deposition testimony that the rest periods were
   always mandatory—specifically the depositions of Stacey Chapman and Melissa Dawson,
   30(b)(6) representatives, as well as Lynn Gilley, former director of human resources. However,
   the deposition testimony is apparently contradicted by the language of the Nuance Employee
   Handbook for the period prior to September 26, 2015. [Doc. 144-9, p. 19]. Regardless, the
   Employee Handbook in effect prior to September 26, 2015 also required that rest periods, if taken,
   be paid and that employees remain clocked in to the “Production Code.” [Id.].
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   Sharifie, Deborah Boudreau, Cheryl Atwood, Kimberly Byers, Carol Pecena, and Lonette

   Worthey. Five of the plaintiffs (Barker, Cormier, named plaintiff Goode, Sharifie, Boudreau)

   testified that it was their usual practice to take breaks; three (Atwood, Byers, and Pecena) testified

   that whether or not they took a break depended on the amount of work available; and two (named

   plaintiff Frey and Worthey) testified that they did not take breaks. Amongst the eight plaintiffs

   that took breaks, whether regularly or occasionally, only Goode testified that she took the full

   thirty (30) minutes available to her. Some testified that they typically took short breaks (Barker,

   Sharifie, Pecena), while others testified that the length of their breaks varied (Cormier, Atwood,

   Byers). Boudreau and Goode, neither of whom resided in California, specifically testified that

   they clocked out during the relevant period, which was contrary to Nuance policy. 8 Class

   discovery does not account for the California opt-in plaintiffs, the subject of a state-specific policy.

           Decertification is appropriate when discovery shows that the relevant company policy did

   not affect plaintiffs “equally or in the same manner.” See, e.g., Brechler v. Qwest Commc’ns Int’l,

   Inc., No. 06-00940-PHX-ROS, 2009 WL 692329, at *3 (D. Ariz. Mar. 17, 2009). Here, it is clear

   that, although named plaintiffs and the opt-in plaintiffs may have been subject to the same policy,

   significant factual disparities exist as to how that policy affected plaintiffs. See Proctor, 250

   F.R.D. at 280 (quoting Heagney, 122 F.R.D. at 127) (“[T]he question is if there is ‘a demonstrated

   similarity among the individual situations . . . some factual nexus which binds the named plaintiffs

   and the potential class members together as victims of a particular alleged [policy or practice].’”);

   see also Anderson, 488 F.3d at 953 (internal citation omitted) (quoting White v. Osmose, Inc., 204

   F. Supp. 2d 1309, 1314 (M.D. Ala. 2002)) (“[A]lthough the FLSA does not require potential class



   8
     Goode testified that she originally stayed clocked in, but, “probably” in 2017, started clocking
   out. [Doc. 125-5, p. 102:11-18]. Thus, Goode did not remain clocked in as required by the policy
   for at least part of the collective period.
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   members to hold identical positions, the similarities necessary to maintain a collective action under

   § 216(b) must extend ‘beyond the mere facts of job duties and pay provisions.’”).

          Most significant to this court, it appears that the named plaintiffs were not affected by the

   rest period policy as asserted in the Second Amended Complaint. Rather, Goode testified that she

   began clocking out for rest periods “probably in 2017,” which was contrary to Nuance policy.

   [Doc. 125-5, p. 102:3-18]. Frey testified that she generally did not take rest breaks. [Doc. 125-

   12, pp. 51:9 to 52:7]. Thus, the disparate factual circumstances surrounding each plaintiffs’

   conduct under the rest period policy—and, significantly, that of the named plaintiffs—weigh

   against a conclusion that plaintiffs and opt-in plaintiffs are “similarly situated.” See O’Brien v. Ed

   Donnelly Enters., Inc., 575 F.3d 567, 586 (6th Cir. 2009).

          In the face of evidence that some plaintiffs did not take breaks, took breaks of varying

   lengths, or clocked out during their breaks contrary to Nuance policy, plaintiffs contend that these

   issues bear on damages, not whether plaintiffs and “opt-in” plaintiffs are “similarly situated.” See

   Underwood v. NMC Mortg. Corp., No. 07-2268-EFM, 2009 WL 1322588, at *4 (D. Kan. May 11,

   2009) (need for individualized inquiry to determine hours of overtime worked and if plaintiffs

   were appropriately compensated was not sufficient to defeat collective action); Lozoya v. All Phase

   Landscape Constr., Inc., No. 12-CV-1048-JLK, 2014 WL 222104, at *2 (D. Colo. Jan. 21, 2014).

   Plaintiffs allege that “[t]he alleged varying clocking practices only create an issue of where to find

   that missing time in Nuance’s data.” [Doc. 142, p. 30]. Plaintiffs assert that all non-productive

   time spent clocked-in is captured in “Server Variance” time, “which multiplied at the appropriate

   [Average Hourly Rate] is the measure of lost straight-time pay for those that followed Nuance

   policies.” [Id.]. Plaintiffs state that the unpaid straight-time need only be valued at a new Average

   Hourly Rate per pay period, added back to total pay, and then divided by total hours less than 40



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    captured by WebClock to arrive at a new Effective Hourly Rate to value any overtime hours during

    that pay period. [Id.].

            Plaintiffs’ proposed method captures all non-productive time, including ten to twenty

    minutes at the beginning of each shift in which MLS employees are obligated to review Feedback

    Action Notifications, Corrections Reports, check email, etc. [Doc. 144-27]. Such non-productive,

    administrative time is not at issue in this lawsuit and therefore plaintiffs’ proposed method is

    improper. 9

            Further, contrary to plaintiffs’ assertions, the factual disparities are relevant to the issue of

    liability, as well as damages. Liability under plaintiffs’ theory requires plaintiffs to demonstrate

    that they took rest periods of a short duration, running from 5 to 20 minutes, that were included in

    the calculation of their regular rate of pay, resulting in an artificial reduction of their regular rate

    of pay and therefore overtime rate. See generally 29 C.F.R. § 785.18. Plaintiffs offer no evidence

    that the “Server Variance” time may be sorted into rest period time, administrative time, or other

    non-productive time absent individualized inquiry. Class certification discovery demonstrates that

    rest period practices amongst the named plaintiffs and opt-in plaintiffs differed significantly.

    Additionally, as recognized by the plaintiff’s counsel during the hearing on the motion to decertify,

    “those [administrative] tasks are not going to be uniform day to day.” [Doc. 150, pp. 18:25 to

    19:1]. In fact, it is conceivable that all of the “Server Variance” time in one day could be attributed

    solely to administrative time. Further, the “Server Variance” time could include breaks of a




    9
      Further, overtime payment for such administrative, nonproductive time, if it at issue, could
    potentially implicate other considerations such as whether defendants and MLS employees reached
    an agreement with respect to the treatment of that time in the overtime computation, which could,
    itself, constitute a separate policy. See 29 C.F.R. § 778.18; [Doc. 142, p. 23]. This also suggests
    disparate factual circumstances.
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    duration longer than thirty (30) minutes, which is not compensable under the FLSA. 10 Finally, the

    evidence demonstrates that some plaintiffs (including Goode beginning in 2017) did not follow

    the policy and, if fact, logged out during rest periods, and the policy for California MLS employees

    required the employees to log out. For those plaintiffs, the “Server Variance” time would not

    capture time spent on rest periods. Rather, the court would have to look to the plaintiffs’

    WebClock punches, a completely separate inquiry. See [Doc. 150, p. 46:13-21]. Plaintiffs offer

    no expert testimony interpreting either the “Server Variance” or “WebClock” data. 11

           For the foregoing reasons, it is clear that proving liability—that is, that each plaintiff took

    rest periods of a short duration which were included in the calculation of the overtime rate of pay

    so as to artificially reduce the overtime rate—would force the proceedings to “devolve into

    numerous mini-trials, causing the jury to evaluate testimony from countless witnesses and other

    evidence that is unique to particular Plaintiffs, and thus incompatible with collective actions.”

    Blair v. TransAm Trucking, Inc., 309 F. Supp. 3d 977, 1010 (D. Kan. 2018) (quoting Green v.

    Harbor Freight Tools USA, Inc., 888 F. Supp. 2d 1088, 1104 (D. Kan. 2012)). 12 The first Thiessen

    factor therefore weighs strongly in favor of decertification as to the rest period theory.



    10
       Because this issue relates to the merits of plaintiffs’ claims, the issue is inappropriate for
    resolution at the decertification stage. Kaiser, 2010 WL 5114729, at *4.
    11
       On January 13, 2020, plaintiffs’ counsel disclosed the expert report of Leah Wietholter, of
    Workman Forensics, a damages expert, but Wietholter’s report was limited to use “in support of
    Plaintiffs’ Motion for Class Certification Under FRCP 23.” [Doc. 151-5]. Further, the court struck
    the report. [Doc. 159].
    12
      For this reason, the U.S. Supreme Court’s decision in Anderson v. Mt. Clemens Pottery Co., 328
    U.S. 680 (1946), is inapplicable. Plaintiffs are entitled to a “reasonable inference” as to the extent
    of damages only after plaintiffs meet their initial burden of proving that they performed work for
    which they were not properly compensated. Anderson primarily relates to the relaxed burden to
    prove exact damages, not a relaxed burden to demonstrate that a sufficient factual nexus exists
    between named plaintiffs and opt-in plaintiffs to bind them to a common policy for purposes of
    collective action.
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                   2.     Incentive Pay

           With respect to the incentive pay theory, on June 27, 2017, a malware attack affected

    defendants’ electronic communications and timekeeping systems, as well as certain transcription

    platforms, rendering MLS employees who worked on those platforms unable to work in their

    normal course. Defendants restored some platforms within a few days, but was unable to restore

    all systems for several weeks. In the interim, defendants implemented an incentive compensation

    plan for MLS employees. [Doc. 49-1, p. 6].

           Pursuant to the incentive plan, MLS employees who worked during the period from June

    27, 2017 through July 7, 2017 were eligible to receive:

               •   Pay for the first 8 hours worked daily at the rate of 1.5 x hours worked x Average
                   Hourly Rate (AHR)
               •   Pay for hours worked in excess of 8 hours daily at the rate of 2.0 x hours worked x
                   AHR
               •   An additional $1,000 bonus paid to employees who had at least 40 productive hours
                   within five consecutive days
    [Doc. 125-17]. The $1,000 bonus was discontinued on July 8, 2017. [Doc. 125-18]. The offer of

    pay for hours worked in excess of 8 hours daily at the rate of 2.0 was discontinued for the pay

    period from July 7, 2017 to July 14, 2017. Defendants resumed paying production hours at AHR

    for the payroll week ending on July 21, 2017. [Doc. 125-19].

           Plaintiffs fail to provide evidence of “some factual nexus which binds the named plaintiffs

    and the potential class members together as victims of a particular alleged [policy or practice.]”

    Proctor, 250 F.R.D. at 280. Rather, of the deposed plaintiffs, two (Worthey and Cormier) admitted

    that they had no claim with respect to the incentive plan. Barker testified that she had no reason

    to believe that she was entitled to more. And of the five deposed plaintiffs who asserted that they

    were owed something, each had different theories as to why. Atwood stated that she was owed

    something, but she was not sure what. Boudreau asserts she was not paid the $1,000 incentive.


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    Byers alleges that she was paid a rate that was too low after the malware attack. Frey alleges that

    defendants did not pay her the correct amount for her 1.5 and 2.0 times per line. Goode admits

    that she was not entitled to the incentive payment, but was paid it anyway. She complains that the

    payment was late.

              Plaintiffs fail to satisfy their burden to establish that defendants implemented a “uniform,

    systematically applied policy of wrongfully denying” incentive pay. Proctor, 250 F.R.D. at 281.

    It would be impossible to extrapolate liability to the entire collective based on the evidence.

    Rather, determining liability would cause the proceedings to “devolve into numerous mini-trials.”

    Accordingly, this first factor weighs strongly in favor of decertification as to the incentive pay

    theory.

              B.     Individualized Defenses

              Individualized defenses do not always require decertification.       Chapman, 2014 WL

    3734271, at *2; Lozoya, 2014 WL 222104, at *3. However, decertification is appropriate when

    the individualized defenses “inhibit the efficiency of proceedings on a collective basis” and “make

    the class unmanageable.” Green., 888 F. Supp. 2d at 1103.

              Defendants contend that at least four individualized defenses require decertification: (1)

    release of claims through severance agreements; (2) statute of limitations; (3) California MLS

    employees employed after defendants required California employees to clock out into a separate

    rest break code and paid those employees separately for that time; and (4) opt-in plaintiffs whose

    testimony demonstrates that they have no valid claim. 13




    13
         The same analysis applies with respect to the rest period and incentive pay theories.


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           First, as to release, defendants contend that more than one hundred plaintiffs released their

    FLSA claims in exchange for severance payments. The Supreme Court has recognized that “FLSA

    rights cannot be abridged by contract or otherwise waived.” Barrentine v. Arkansas-Best Freight

    Sys., Inc., 450 U.S. 728, 740 (1981). Thus, courts have split as to whether FLSA claims may be

    settled privately without court or the Department of Labor involvement. See Sims v. Hous. Auth.

    of the City of El Paso, No. 10-CV-109-KC, 2011 WL 3862194, at *6 (W.D. Tex. Sept. 1, 2011).

    However, those courts that permit settlement only do so where a bona dispute existed between the

    parties as to the number of hours worked or compensation due. Id. Courts also generally require

    that the employee at issue not be an unrepresented worker, unaware of FLSA rights. Gorczyca v.

    NVR, Inc., No. 13-CV-6315-L, 2017 WL 11435971, at *2 (W.D.N.Y. July 13, 2017). Resolution

    of whether the severance agreements effectively preclude the one hundred plaintiffs’ claims is

    inappropriate at the decertification stage. Kaiser, 2010 WL 5114729, at *4. In any event, the

    defense would be specific to over ten percent (10%) of the opt-in class, and, if applicable, would

    require an individualized factual inquiry that would inhibit the efficiency of proceeding on a

    collective basis. See Schueler v. H&R Block Mortg. Corp., No. CV-07-00342-CJC(MLGx), 2009

    WL 10671973, at *4 (C.D. Cal. Aug. 10, 2009).

           Second, with respect to statute of limitations, courts are split as to whether a statute of

    limitations defense requires decertification. Cf. White v. Baptist Mem’l Health Care Corp., No.

    08-2478, 2011 WL 1883959, at *12 (W.D. Tenn. May 17, 2011) (did not require certification);

    Arnold v. DirecTV, LLC, No. 10-CV-352-JAR, 2017 WL 1251033, at *8 (E.D. Mo. Mar. 31, 2017)

    (statute of limitations is individualized defense). In this case, defendants assert that only seventeen

    (17) plaintiffs are subject to the statute of limitations defense. The court is not persuaded that

    consideration of this issue would make collective action unmanageable.



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           Third, defendants contend that four (4) opt-in plaintiffs reside in California and were

    employed after defendants required California MLS employees to clock out into a separate rest

    break code and paid those employees separately for that time. Resolution of this defense with

    respect to four opt-in plaintiffs would not make management of this case as a collective

    unmanageable.

           Fourth, resolution of the claims of the deposed plaintiffs who admitted to taking no rest

    breaks and were not employed during the malware incident would not render collective action

    unmanageable. For the foregoing reasons, the individualized defenses factor does not weigh

    strongly either in favor of or against decertification.

           C.      Fairness and Procedural Considerations

           With respect to fairness and procedural considerations, the court should bear in mind the

    primary objectives of a § 216(b) collective action: “(1) to lower costs to the plaintiffs through the

    pooling of resources; and (2) to limit the controversy to one proceeding which efficiently resolves

    common issues of law and fact that arose from the same alleged activity.” Blair, 309 F. Supp. 3d

    at 1012. This includes whether the facts are so individualized that it would be impossible to

    continue with representative testimony. 14 Id.

           As an initial matter, the court notes that plaintiffs disclaim any intent to rely on

    representative testimony, and instead, intend to rely on “common evidence” of a uniform policy

    and an Anderson inference that they are owed compensation for work performed. [Doc. 142, pp.

    37-38]. However, for the reasons discussed above, the Anderson inference is inapplicable. Mere

    evidence of a common policy, alone, is insufficient to satisfy plaintiffs’ initial burden of proving




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      As with the second factor, the same analysis applies with respect to the rest period and incentive
    pay theories.
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    that they performed work for which they were not properly compensated. Plaintiffs propose no

    other workable trial plan. Thus, the court considers the potential for representative testimony.

           Courts have recognized that “[a] representative sample of employees can provide the proof

    of a prima facie case of a FLSA violation.” Proctor, 250 F.R.D. at 283 (citing Reich v. S. New

    England Telecomms. Corp., 121 F.3d 58, 67 (2d Cir. 1997)). However, “[t]he use of representative

    testimony is justified only where it is reasonable to believe that the testifying witnesses’

    experiences are sufficiently similar to those of the rest of the non-testifying plaintiffs.” Arnold,

    2017 WL 1251033, at *7 (quoting Roussell v. Brinker Int’l, Inc., CIV-A-H-05-3733, 2008 WL

    2714079, at *22 (S.D. Tex. July 9, 2008)). “Where a purported unlawful policy impacts Plaintiffs

    in different and individual ways, ‘there is not one single decision, policy, or plan but rather multiple

    policies that require decertification.’” Id.

           As discussed above, here, the two named plaintiffs are not “representative” of the “opt-in”

    plaintiffs. With respect to the rest period theory, Frey testified that she did not take rest periods

    and Goode testified that she began clocking out for her rest periods “probably in 2017,” contrary

    to Nuance policy. As for the incentive pay theory, Frey alleges that defendants did not pay her the

    correct amount for her 1.5 and 2.0 times per line, whereas Goode made no allegations with respect

    to her line pay, and admits that she was not entitled to the incentive payment, but was paid it

    anyway. Further, as to both theories, amongst the opt-in plaintiffs deposed, the testimony varies.

    The factual disparities render proceeding with representative testimony difficult, if not impossible.

           Further of significance, it is clear that a determination of damages would require an

    individualized inquiry. There are over 800 opt-in plaintiffs. Plaintiffs present no expert testimony

    with respect to damages, nor do they offer any workable theory as to how damages could be

    efficiently calculated. Thus, a damage determination would require this court to conduct over 800



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    individualized inquiries to resolve factual disputes related to the amount of damages owed each

    plaintiff. That is neither efficient nor manageable.

           For the foregoing reasons, fairness to both parties—to present evidence as to liability and

    the appropriate measure of damages—strongly weighs in favor of decertification. 15

           D.      Summary

           To determine whether the MLS employees are “similarly situated,” the court applies three

    factors “under a relatively strict standard.” Blair, 309 F. Supp. 3d at 1013. The majority of the

    factors strongly weigh in favor of decertification. A determination of liability will require over

    eight hundred highly individualized and fact-specific inquires, as would damages. Plaintiffs offer

    no workable trial plan. Thus, proceeding as a collective is neither manageable nor efficient, and

    does not further the objectives of a § 216(b) collective action. Decertification is warranted.

    VI.    Conclusion

           WHEREFORE, the Motion to Decertify Collective Action [Doc. 125] of defendants

    Nuance Communications, Inc. and Nuance Transcription Services, Inc. is granted. The court

    decertifies the collective action and dismisses the opt-in plaintiffs without prejudice. To avoid

    prejudice to the opt-in plaintiffs who may choose to file their own cases, the court invokes its

    equity power to toll the applicable statute of limitations for forty-five (45) days following the

    issuance of this order. The case remains pending as to the individual claims of the named plaintiffs,

    Jennifer Goode and Kandi Frey.

           IT IS SO ORDERED this 14th day of February, 2020.




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     To that end, plaintiffs have benefitted from the class discovery conducted in advance of this
    motion. Green, 888 F. Supp. 2d at 1104; Goodly, 2018 WL 5724320, at *4.
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